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                                   ID #1834



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

BRANDON GOZA,

Defendant.                                              No. 07-30136-DRH


                                     ORDER

HERNDON, Chief Judge:

             This matter comes before the Court on Defendant Brandon Goza’s

Motion for Permission to Travel (Doc. 554) to Las Vegas, Nevada.         Being fully

apprised in the premises, the Court GRANTS Defendant Goza’s motion (Doc. 554).

Defendant has the Court’s permission to travel to Las Vegas, Nevada on November

4, 2010 to visit his father and to attend a car show. Defendant must adhere to the

itinerary contained in his motion and shall return to Tuscon, Arizona on November

7, 2010. Defendant shall provide all information to the United States Pretrial

Services Office and contact them, by phone, upon his return.

             IT IS SO ORDERED.

             Signed this 18th day of October, 2010.

                                                                David R. Herndon
                                                                2010.10.18 16:21:09
                                                                -05'00'
                                            Chief Judge
                                            United States District Court
